 Case 1:19-cv-10303-TLL-PTM ECF No. 1 filed 01/31/19              PageID.1     Page 1 of 21



                                   STATE OF MICHIGAN

                IN THE CIRCUIT COURT FOR THE COUNTY OF SAGINAW


SHERINA TURNER,

              Plaintiff,

  vs.                                                 Case No. 19-038400-NZ-5

SAGINAW TRANSIT AUTHORITY                             Hon. Darnell Jackson
REGIONAL SERVICES,

              Defendant.
                                                 /

VICTOR J. MASTROMARCO, JR. P34564               MICHAEL D. WEAVER P43985
KEVIN L. KULA P81913                            Plunkett Cooney
The Mastromarco Firm                            Attorneys for Defendant
Attorneys for Plaintiff                         38505 Woodward
1024 n. Michigan Avenue                         Suite 100
Saginaw, MI 48602                               Bloomfield Hills, MI 48034
(989) 752-1414                                  (248) 901-4025
                                                mweaver@plunkettcooney.com




                               NOTICE OF FILING REMOVAL

TO:           CLERK OF THE COURT, Saginaw County Circuit Court
              Victor J. Mastromarco, Jr., Esq.
              Kevin L. Kula, Esq.


              PLEASE TAKE NOTICE that Defendant, SAGINAW TRANSIT AUTHORITY

REGIONAL SERVICES, by and through their attorneys, PLUNKETT COONEY, hereby files

herewith, pursuant to 28 U.S.C. 1446(a), to the Clerk of the Circuit Court for the County of

Saginaw, State of Michigan, a true copy of their Notice of Removal of this cause from the
 Case 1:19-cv-10303-TLL-PTM ECF No. 1 filed 01/31/19              PageID.2     Page 2 of 21



Circuit Court for the County of Saginaw, State of Michigan, to the United States District

Court for the Eastern District of Michigan, Southern Division.

                                           Respectfully submitted,

                                           PLUNKETT COONEY

                                           /s/Michael D. Weaver_________
                                           MICHAEL D. WEAVER (P43985)
                                           Attorney for Defendant STARS
                                           38505 Woodward Avenue # 100
                                           Bloomfield Hills, MI 48304
                                           (248) 901-4025
                                           mweaver@plunkettcooney.com


Dated: January 31, 2019




                                              2
 Case 1:19-cv-10303-TLL-PTM ECF No. 1 filed 01/31/19              PageID.3     Page 3 of 21



                                   STATE OF MICHIGAN

                IN THE CIRCUIT COURT FOR THE COUNTY OF SAGINAW


SHERINA TURNER,

              Plaintiff,

  vs.                                                 Case No. 19-038400-NZ-5

SAGINAW TRANSIT AUTHORITY                             Hon. Darnell Jackson
REGIONAL SERVICES,

              Defendant.
                                                 /

VICTOR J. MASTROMARCO, JR. P34564               MICHAEL D. WEAVER P43985
KEVIN L. KULA P81913                            Plunkett Cooney
The Mastromarco Firm                            Attorneys for Defendant
Attorneys for Plaintiff                         38505 Woodward
1024 n. Michigan Avenue                         Suite 100
Saginaw, MI 48602                               Bloomfield Hills, MI 48034
(989) 752-1414                                  (248) 901-4025
                                                mweaver@plunkettcooney.com



                  NOTICE OF REMOVAL TO UNITED STATES DISTRICT
                      COURT, EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


TO:           HONORABLE JUDGES OF THE U.S. DISTRICT COURT
              Eastern District of Michigan, Southern Division
              Tracy E. Van Den Bergh, Esq.


              Defendant, SAGINAW TRANSIT AUTHORITY REGIONAL SERVICES, in this

action, originally pending in the Circuit Court for the County of Saginaw, Civil Action No. 19-

038400-NZ-5 hereby remove this action to the United States District Court for the Eastern
 Case 1:19-cv-10303-TLL-PTM ECF No. 1 filed 01/31/19                 PageID.4     Page 4 of 21



District of Michigan, Southern Division. In support of this Removal, Defendant states as

follows:

                  1.   There was commenced and is now pending in the Circuit Court for the

County of Saginaw, the above action in which Sherina Turner is the Plaintiff. Saginaw

Transit Authority Regional Services (hereinafter “STARS”) is the Defendant.

                  2.   Defendant is seeking removal based upon a federal question

presented in Plaintiff’s Complaint; to wit: Retaliation in Violation of American with

Disabilities Act. Therefore, this Removal is appropriate.

                  3.   The District Court of the United States is given jurisdiction under 28

U.S.C. 1332(a)(1), and this action is removable to this Court under 28 U.S.C. 1441(a).

                  4.   This notice is filed with this Court within thirty (30) days after the

date of service of process upon this Defendant, said service of process having taken place

on or about January 15, 2019.

                  5.   A copy of this notice shall be given to all adverse parties, as required

by law.

                  6.   A true and correct copy of this Notice of Removal will be filed with the

Clerk of the Circuit Court for the County of Saginaw, State of Michigan, as provided by law.

                  7.   Defendant files herewith and by reference make a part hereof a true

and correct copy of all process, pleadings, and orders purportedly served upon Defendant

in this action.

                  WHEREFORE, Defendant, SAGINAW TRANSIT AUTHORITY REGIONAL

SERVICES, by and through its attorneys, PLUNKETT COONEY, respectfully requests that

this Court remove this action from the Circuit Court for the County of Saginaw, State of



                                               -2-
 Case 1:19-cv-10303-TLL-PTM ECF No. 1 filed 01/31/19                PageID.5     Page 5 of 21



Michigan to the United States District Court for the Eastern District of Michigan, Southern

Division.

                                               PLUNKETT COONEY

                                              /s/Michael D. Weaver_________
                                              MICHAEL D. WEAVER P43985
                                              Attorneys for Defendant STARS
                                              38505 Woodward
                                              Suite 2000
                                              Bloomfield Hills, MI 48034
                                              Tele: (248) 901-4025
                                              mweaver@plunkettcooney.com

Dated: January 31, 2019


                                       PROOF OF SERVICE

                 I hereby certify that on January 31, 2019, a copy of Notice of Filing Removal

and Notice of Removal were filed and the attorney of record was notified via first class mail

at the following address:

                 Victor J. Mastromarco, Jr., Esq.
                 Kevin L. Kula, Esq.
                 The Mastromarco Firm
                 1024 N. Michigan Avenue
                 Saginaw, MI 48602

                                               PLUNKETT COONEY

                                              /s/Michael D. Weaver_________
                                              MICHAEL D. WEAVER P43985
                                              Attorneys for Defendant STARS
                                              38505 Woodward
                                              Suite 2000
                                              Bloomfield Hills, MI 48034
                                              Tele: (248) 901-4025
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Case 1:19-cv-10303-TLL-PTM ECF No. 1 filed 01/31/19   PageID.6   Page 6 of 21
Case 1:19-cv-10303-TLL-PTM ECF No. 1 filed 01/31/19   PageID.7   Page 7 of 21
Case 1:19-cv-10303-TLL-PTM ECF No. 1 filed 01/31/19   PageID.8   Page 8 of 21
Case 1:19-cv-10303-TLL-PTM ECF No. 1 filed 01/31/19   PageID.9   Page 9 of 21
Case 1:19-cv-10303-TLL-PTM ECF No. 1 filed 01/31/19   PageID.10   Page 10 of 21
Case 1:19-cv-10303-TLL-PTM ECF No. 1 filed 01/31/19   PageID.11   Page 11 of 21
Case 1:19-cv-10303-TLL-PTM ECF No. 1 filed 01/31/19   PageID.12   Page 12 of 21
Case 1:19-cv-10303-TLL-PTM ECF No. 1 filed 01/31/19   PageID.13   Page 13 of 21
Case 1:19-cv-10303-TLL-PTM ECF No. 1 filed 01/31/19   PageID.14   Page 14 of 21
Case 1:19-cv-10303-TLL-PTM ECF No. 1 filed 01/31/19   PageID.15   Page 15 of 21
Case 1:19-cv-10303-TLL-PTM ECF No. 1 filed 01/31/19   PageID.16   Page 16 of 21
Case 1:19-cv-10303-TLL-PTM ECF No. 1 filed 01/31/19   PageID.17   Page 17 of 21
Case 1:19-cv-10303-TLL-PTM ECF No. 1 filed 01/31/19   PageID.18   Page 18 of 21
Case 1:19-cv-10303-TLL-PTM ECF No. 1 filed 01/31/19   PageID.19   Page 19 of 21
Case 1:19-cv-10303-TLL-PTM ECF No. 1 filed 01/31/19   PageID.20   Page 20 of 21
Case 1:19-cv-10303-TLL-PTM ECF No. 1 filed 01/31/19   PageID.21   Page 21 of 21
